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06                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
07                                       AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )
09               Plaintiff,               )
                                          )              Case No. MJ09-268
10         v.                             )
                                          )
11   ROGELIO DIAZ AGUILAR,                )              DETENTION ORDER
                                          )
12               Defendant.               )
     ____________________________________ )
13

14 Offense charged:

15          Conspiracy to Distribute Methamphetamine, in violation of 21 U.S.C. 841(a)(1),
            841(b)(1)(A), and 846.
16
     Date of Detention Hearing: June 3, 2009
17
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
18
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
19
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
20
            (1)       An immigration detainer has been placed on defendant by the United States
21
     Immigration and Customs Enforcement.
22
            (2)       Defendant has stipulated to detention, due to the immigration detainer lodged
23
     against him, but reserves the right to contest his continued detention if there is a change in
24
     circumstances.
25

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     DETENTION ORDER                                                                           15.13
     18 U.S.C. § 3142(i)                                                                    Rev. 1/91
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01          (3)    There appear to be no conditions or combination of conditions other than

02 detention that will reasonably assure the defendant’s appearance at future Court hearings.

03          IT IS THEREFORE ORDERED:

04          (1)    Defendant shall be detained pending trial and committed to the custody of the

05                 Attorney General for confinement in a correctional facility separate, to the extent

06                 practicable, from persons awaiting or serving sentences or being held in custody

07                 pending appeal;

08          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

09                 counsel;

10          (3)    On order of a court of the United States or on request of an attorney for the

11                 government, the person in charge of the corrections facility in which defendant

12                 is confined shall deliver the defendant to a United States Marshal for the purpose

13                 of an appearance in connection with a court proceeding; and

14          (4)    The Clerk shall direct copies of this Order to counsel for the United States, to

15                 counsel for the defendant, to the United States Marshal, and to the United States

16                 Pretrial Services Officer.

17
                   DATED this 4th day of June, 2009.
18

19                                                        A
                                                          JAMES P. DONOHUE
20                                                        United States Magistrate Judge
21

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     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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